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UN|TED STATES OF ANIERICA

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-v- o4-2o440-01-Ma CL w %,§' PNSYM

GEORGE L. ROB|NSON

Bruce l. Griffeyl CJA
Defense Attorney

142 N. 3rd Street, 3"' Floor
Memphis,Tennessee 38103

 

JUDGMENT |N A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Counts 1 through 5 and 8 through 11 of the lndictment on
February 24, 2005. According|y, the court has adjudicated that the defendant is guilty of the
following offense(s):

Date Count
Tit|e & Section Nature of Offense Offense Numbe[(sl
M!_L!§__e£

18 U.S.C. § 1028(a)(7) Unlawful use of identity of another 08/09/2004 1-4
person to commit a felony

18 U.S.C. § 1029(a)(2) Fraudulent use of access device over 08/16/2004 5
$1,000.00

18 U.S.C. § 1028A Aggravated identity theft 08/09/2004 8-11

The defendant is sentenced as provided in the following pages of thisjudgment. The sentence is
imposed pursuant to the Sentencing Fleform Actof 1984 and the lVlandatory Victims Restitution Act
of 1996.

Counts 6 and 7 and 12 through 15 are dismissed on the motion of the United States.

lT lS FURTHER ORDEFIED that the defendant shall notify the United States Attorney for this district within
30 days of any change of name, residencel or mailing address until all fines, restitution, costs and special
assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 04/04/1986 Ju|y 01, 2005
Deft’s U.S. Marshal No.: 19887-076

Defendant’s Ffesidence Address: // l' l' l
4224 Oxford Square Drive

Memphis, TN 38116

 

SAMUEL H. N|AYS, J|'-'i.
UN|TED STATES DISTH|CT JUDGE

Juiy lt , 2005

Thls doct_ment entered on th
e dockets set fn com ll
with ama 55 and/or azrni rach now 038

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Cese No: 04-20440-01-Ma
Defendant Name: George L. Fiobinson Page 2 of 5

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of six (6) months on Counts 1 through 5, each to run
concurrent|y, and twenty-four (24) months on Counts 8 through 11, each count to run
concurrently, and consecutive to sentence imposed on Counts 1 through5, for a total term
of imprisonment of thirty (30) months. This sentence shall run concurrently with
defendants sentence imposed in Case No. 04-20391-02-|\/la

The defendant is remanded to the custody of the United States Marsha|.

RETURN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered 0n to
at . with a certified copy of this
judgment.
UN|TED STATES MARSHAL
By:

 

Deputy U.S. Marshal

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Case No: 04-20440-01-Ma
Defendant Name: George L. Ftobinson Page 3 015

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of three (3) years

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supen/ised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substancel The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S!ON

1. The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer,'

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten (10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

' distribute, or administer any narcotic or other controlled substancel or any paraphernalia related to such
substances except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally so|d, used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at horne or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

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Defendant Name: George L. Robinson Page 4 of 5

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant's criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendant's compliance with such
notification requirement

13_ |f this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedu|e of Payments set
forth in the Crimfnal Monetary Penalties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPEF{V|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall participate as directed in a program (outpatient and/or inpatient)
approved by the Probation Officer for treatment of narcotic addiction or drug or alcohol
dependency which may include testing for the detection of substance use or abuse.
Further, the defendant shall be required to contribute to the costs of services for such
treatment not to exceed an amount determined reasonable by the Probation Officer.

2. The defendant shall seek and maintain lawful full-time employment, however, the
defendant shall not be employed at a bank or financial institution, or any place where
defendant can have access to other peop|e’s credit cards or credit information

3. The defendant shall obtain his General Educationa| Deve|opment (G.E.D.) Diploma.

4. The defendant shall provide third-party risk notification as directed by the Probation Office.

5. The defendant shall pay restitution in regular monthly installments of not less than 10% of
his gross monthly income.

6. The defendant shall notify the U.S. Attorney and the Court of any material change in
economic circumstances that may affect defendant's ability to pay restitution.

7. The defendant shall cooperate in the collection of DNA as directed by the Probation Officer.

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Case No: 04-20440-01-|V|a
Defendant Name: George L. Flobinson Page 5 of 5

CRIM|NAL MONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Scheduie of Payments. The interest
requirement is waived. A|I of the payment options in the Schedule of Payments may be
subject to penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Fte§titution
$900_00 See Judgment in Case No. O4-20391-02-Ma

The Specia| Assessment shall be due immediately

F|NE
No fine imposed.

RESTiTUT|ON

See Judgment in Case No. 04-20391-02-Ma.

Notice of Distribution

This notice confirms a copy of the document docketed as number 28 in
case 2:04-CR-20440 Was distributed by faX, mail, or direct printing on
July ]3, 2005 to the parties listed.

 

 

Bruce I. Griffey

LAW OFFICES OF BRUCE I. GRIFFEY
142 North Third St.

3rd Floor

Memphis7 TN 38103

Tracy Berry
167 No Main, 8th Floor
Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

